Case 2:12-cv-06161-RBS Document1

JS dd (Rev. vO/1 1)

the civil docket sheet (S88 INSTREG TONS ON NEAT PAGE CHE THIS FORM)

CIVIL COVER SHEET

The J3 44 civil coversheet and the information comained herein neither replace nor supplement the filing and service of pleadngs or other pacts as required by law, except as povided
by local niles of coun. ‘This form, approved by the Judicial Conference of the United States mSeprember 1974, is required for the use of t

Filed 10/31/12

Page 1 of 48

ae Clerk of Court for ihe purpese of initaing.

i, (a) PLAINTIFFS
Rapheal Gabay, D.O. and Gabay, Schwartz, Ent and Associates, P.C.

(b) County of Residence of First Listed Plaimil? Pry

adeiphia, PA.
EXCEPT IN COS PLAINTHEE ©

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pach Bhepes man Egguire and telephone Numbers
Solomon, Sherman & Gabay
1628 JFK Boulevard, Ste, 2200, Philadelphia, PA 19103

NOPE

Wendy D.

DEFENDANTS
Gien Josephs, CPA and Friedman LLP

AtOrMes (ff Known) .
Testa, Esquire

Wiison Elser Moskowitz Edelman & Dicker, LLP
independence Square West, The Curis Center, Ste 1130E, Phila. PA

County of Residence of First Listed Derendant

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tN CLS. PLAINTIED CASES 02
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H. BASES OF JURISDICTION

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2 US. Government M4 Diversity

Defendant (indicate Cuizenship of Parties ur iene tt)

flor Diversity Cases Qnty

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Citizen of This State x1
Cnizen of Another State m2
Chizen or Subject of a 3

Foren Country

atid Chie Bax por Defendant)

DEF PTE DEF
S) t Incorporated or Principal Place o4 Ma
of Business In This State
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7 120 Marine SEO Anrphane T3068 Personal injury - af Property 2E USC 881 77 423 Withdrawal 1) 400 See Reapportionment
£7 130 Miller Act TT 345 Auplane Product Product Liability 3 690 Other 28 USC 157 7 ARO Anutrust
7 340 Negotiable Instrument Lrability A 367 Health Care. 7 130 Banks and Banking
150 Recovery of Overpayment 207 320 Assault, Libel & Pharmaceuucat PROPERTY RIGHTS SV 490 Conuneree
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Med. Malpractice J 794 Empl, Ret. Inc, 07 896 Arbitratian
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210 Land Condemnation OD 440 Other Civil Rights f] 316 Motions to Vacate £7 870 Taxes QELS. Plain? ActReview or Appeal af
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O 243 Tort Product Liability Accommodations OC] 335 Death Penalty EMMIGRATION
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Proceeding State Court Appellate Court Reopened ee WSN Litigation

28 U.S.C. 1332

Cre the US Civil State uader which vou are filing (a net cite jurisdictional statutes untess diversity

VI. CAUSE OF ACTION

Brief description of cause
Professional Negligence Action

VH. REQUESTED IN CV CHECK IF THIS IS A CLASS ACTION

DEMAND $

CHECK YES only i demanded in complaint

COMPLAINT: UNDER E.R CP 23 In Excess of $75,000.00 jury oeMANp: MYes. TINe
VIH. RELATED CASE(S)

IF ANY eC MINEHEHOE. Here DOCKET NUMBER
DATE SIGNATURE OF ATTOp
10/31/2042

FOR OFFICE USE ONLY

RECEIPT & AMOUNT

APPLYING iFP

IIDGE

MAG JUDGE
Case 2:12-cv-06161-RBS Documenti Filed 10/31/12 Page 2 of 48

IN FHE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

“IVIL ACTION
Rapheal Gabay, D.O. AND Cabay, Schwartz, Tnt and CIV]
Associates, P.C, Vv.
Glen Josephs, CPA AND Friedman LLP NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit 1o the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 2255. { )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration ~ Cases required to be designated for arbitration under Local Civil Rule 53.2, (x )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(ec) Special Management -- Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

management cases.) ( )
(f} Standard Management ~ Cases that do not fall into any one of the other tracks. ( )
10/31/12 Wendy D. Testa, Esquire Glen Josephs, CPA and Friedman LLP
Date Attorney-at-law Attorney for Defendants
215-627-6900 215-627-2665 Wendy .Testa@wilsonelser,.com
Telephone FAX Number i-Mail Address

(Civ, 6603 10/02
Case 2:12-cv-06161-RBS Documenti Filed 10/31/12 Page 3 of 48
UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA — DESIGNATION FORM to be used by counsel io indicate the category of the case for the purpose of
assignment to appropriate calendar,

Address of Plaintiff 9500 Roosevelt Boulevard, Philadelphia, PA 19115

Address of Defendant: 406 Lippincott Drive, Suite J, Marlton, New Jersey 08003

Place of Accident, Incidem or Transaction:

(Use Reverse Side For Additional Space}

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?

(Attach two copies of the Disclosure Statement Form in accordance with Fed. R.Civ.P. 7.1(a)) Yes No
Does this case involve wullidistrict litigation possibilities? Yeso net
RELATED CASE, IF ANY:

Case Number: Judge Date Ferminated:

Civil eases are deemed related when yes is answered to any of the following questions:

i. Is this case related to property included in an carlicr numbered suit pending or within one year previously terminated aclien in this court?
Yes Noll
. Does this case involve the same issue of fact or grow oul of the same transaction as a prior suit pending or within one year previously terminated

>
action in this court?
YesO Noll
3. Does this case involve the validity or infringement ofa patent already in suit or any carlicr mimbered case pending or within one year previously
Yes = NoO

terminated action in this court?

4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?

YesO Nol
CIVIL: (Place @ IN ONE CATEGORY ONLY)
A. Federal Question Cases: B. Diversity Jurisdictian Cases:
1. O Jndemnity Contract, Marine Contract, and All Other Contracts 1, O Insurance Contract and Other Contracts

2. 0 FELA Airplane Personal Injury

, © Jones Act-Personal Injury Assault, Defamation
. © Antitrust Marine Persenai Injur
Jury

Patent Motor Vehicle Personal Injury

Other Personal Injury (Please specify}

Civil Rights Products Liability

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Habeas Corpus Products Liability — Asbestos

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5. 0

6. O Labor-Management Relations
7. 0

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. & All other Diversity Cases
Professional Malpractice

Social Security Review Cases (Please specify)

A]l other Federal Question Cases
(Please specify)

a
. O Securities Act(s} Cases

o

o

ARBITRATION CERTIFICATION
(Check Appropriate Category)
1, , counsel of record do hereby certify:
QO Pursuant to Local Civil Rule $3.2, Section 3(c}(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and cosls;
& Relief other than monctary damages is sought.

DATE:

Altlorney-at-Law Attorney 1.D.#
NOTE: A trial de nove will be a trial by jury only if there has been compliance with F.R.C.PL 38.

a

ase now pending or within one year previously terminated action in this court

J certify that, to my knowledge, the within case is net related to
except as noted abeve,

pare; 10/31/12 81705
Attorney-al Dine” Auomey LD

CIV. 609 (5/2012) We . Testa, Esquire

Case 2:12-cv-06161-RBS Documenti_ Filed 10/31/12 Page 4 of 48

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RAPHEAL GABAY, D.O
9500 Roosevelt Blvd,
Philadelphia, PA 19115

and

CIVIL ACTION

NO::

GABAY, SCHWARTZ, ENT AND

ASSOCIATES, P.C,
9500 Roosevelt Blvd.
Philadelphia, PA 19115

Plaintiffs

Vv.
GLENN JOSEPHS, CPA
Friedman LLP

406 Lippincott Drive, Suite J
Marlton, NJ 08003

and

FREIDMAN LLP

Friedman {.1P

406 Lippincott Drive, Suite J
Marlton, NJ 08003

Defendants

NOTICE OF REMOVAL

PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. § 1441, Defendant Glenn

Josephs, CPA (herein after “Defendant’”), by his undersigned counsel, hereby removes

this action to the United States District Court for the Eastern District of Pennsylvania

from the Philadelphia County Court of Common Pleas on the following grounds:

1. Plaintiffs, Raphael Gabay and Gabay, Schwartz, Ent and Associates, P.C.,

(herein after collectively “Plaintiffs”) commenced this civil action via Complaint filed in

763643 .1
Case 2:12-cv-06161-RBS Documenti Filed 10/31/12 Page 5of 48

the Philadelphia Court of Common Pleas on or about October 2, 2012. A true and correct
copy of the Plaintiffs’ Complaint is attached hereto as Exhibit “A.”

2, This is a civil action in which this court could have had original
jurisdiction under 28 U.S.C, §1441, and which may be removed to this court by
Defendant pursuant to the provisions of 28 U.S.C, §1332(a}(1) in that it is a civil action
between citizens of different states, and the matter in controversy exceeds the sum of

$75,000, exclusive of interest and costs.

3, This action is therefore removable under 28 U.S.C. § 1441(a) and (b).

4, Inasmuch as this Notice of Removal is being filed within thirty (30) days
of service of the complaint, it is timely under 28 U.S.C. § 144660).

5. Plaintiffs avers in their complaint that this litigation arises from
professional instruction and information given to Plaintiffs from Defendants in 2005
regarding potential tax shelter and retirement plans.

6. The Complaint alleges that Plaintiffs relied on the representations of both
Defendants as to the potential tax shelter and retirement plans, and their compliance with
IRS rules and regulations.

7, The Complaint further alleges that Plaintiffs were subsequently audited
and fined due to their failure to file certain necessary papers.

8. Plaintiff! Raphael Gabay, D.O. is an adult individual and citizen of the
Commonwealth of Pennsylvania with a mailing address at 9500 Roosevelt Boulevard,

Philadeiphia, PA 19115,

763643.1
Case 2:12-cv-06161-RBS Documenti_ Filed 10/31/12 Page 6 of 48

9. Plaintiff Gabay, Schwartz, Ent and Associates, P.C. is a corporation
incorporated under the laws of the Commonwealth of Pennsylvania with a mailing
address at 9500 Roosevelt Boulevard, Philadelphia, PA 19115.

10, Defendant Glenn Josephs, CPA is an adult individual and citizen of the
State of New Jersey with a mailing address at 406 Lippincott Drive, Suite J, Marlton,
New Jersey 08003.

11, Defendant Freidman, LLP is a New Jersey Limited Liability Partnership
with a mailing address at 406 Lippincott Drive, Suite J, Marlton, New Jersey 08003.

11. The amount in controversy for the matter is in excess of the jurisdictional
limit of $75,000, exclusive of costs and counsel fees. See Exhibit “A.”

12. As evidenced by the consent form attached hereto as Exhibit “B,”
Defendant Freidman, LLP consents to the removal of this matter to this court.

13. Pursuant to the provisions of 28 U.S.C. § 1446(a), copies of all state court
papers which have been served on the defendant at, or before, the time of removal are
attached. See Exhibit “A.”

14, Upon filing the Petition for Removal in the office of the Clerk of the
United States District Court for the Eastern District of Pennsylvania, defendant has given
notice to counsel for the plaintiffs and with the Prothonotary of the Court of Common

Pleas of Philadelphia County, Pennsylvania.

763643.1
Case 2:12-cv-06161-RBS Documenti Filed 10/31/12 Page 7 of 48

WHEREFORE, Defendant, Glenn Josephs, CPA, respectfully requests that this

action be removed to this court and proceed as though originally commenced herein.

Respectfully submitted,

WILSON, ELSER, MOSKOWITZ,
EDELMAN & DICKER LLP

BY: 4s/ Wendy D. Testa
Wendy D. Testa, Esquire
Atty. LD. No.: 81705
Attorney for Defendant,
Glenn Josephs, CPA
The Curtis Center, Suite 1130 East
Independence Square West
Philadelphia, PA 19106
Phone: (215) 627-6900
Facsimile: (215) 627-2665
Wendy. Testa‘ wilsonelser.com

Dated: October 31, 2012

763643 .1
Case 2:12-cv-06161-RBS Documenti_ Filed 10/31/12 Page 8 of 48

CERTIFICATE OF SERVICE

I, Wendy D. Testa, Esquire, attorney for Defendant, Glenn Josephs, CPA, certify
that | have served a true and correct copy of the foregoing Notice of Removal by filing

the same on the court’s ECF system on the date referenced below.

/s/Wendy D. Testa

Wendy D. Testa, Esquire

Dated: October 31, 2012

763643.1
Case 2:12-cv-06161-RBS Documenti_ Filed 10/31/12 Page 9 of 48

EXHIBIT “A”
Case 2:12-cv-06161-RBS Document 1

Court of Common Pleas of Philadelphia County
Trial Division

Filed 10/31/12 Page 10 of 48

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Civil Cover Sheet
PLAINTIFFS NAME

RAPHAEL GABAY DR.

DEFENDANT'S NAME
GLEN JOSEPHS

PLAINTFFS ADDRESS
$500 ROOSEVELT BLVD.

PHILADELPHIA PA 191215

GEFENDANTS ADDRESS
FRIEDMAN LLP 408 LIPPINCOTT DR., SUITE J

MARLTON NU 08003

“sd

DEFENDANTS NAME

PLAINTIFFS NAME
GABAY, SCHWARTZ, ENT AND ASSOCIATES, P.C. FRIEDMAN LLP
PLAINTIFF'S ACDRESS DEFENDANTS ADDRESS

9560 ROOSEVELT BLVD,
PHILADELPHIA PA 19115

406 LIPPENCOTT DR., SUITE J

MARLTON NJ 08003

DEFENDANTS NAME

PLAINTIFES NAME
PLAINTIFF'S ADDRESS DEFENDANT'S ADDRESS

TOTAL NUMBER OF PLAINTIFFS TOTAL NUMBER OF DEFENDANTS COMMENCEMENT OF ACTION

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[x] More than 850,000.00 CT Non-Jury ss, Sanne [elite Gan ’ ie ay ta [_} WAD/Survival
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Ris ve me es WS
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STATUTORY BASIS FOR CAUSE OF ACTION, tr - Preyh fen y eal
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PRO PROTHY COORDINATION CROER?
. YES NO
7. MURPHY

TO THE PROTHONOTARY:

Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: RAPHAEL GABAY DR., GABAY,

Papers may be served at the address set forth below.

SCHWARTZ,

ENY AND ASSOCIATES, P.C.

NAME OF PLAINTIFF'S/PETITIONER'SIAPPELLANTS ATTORNEY
DAVID B. SHERMAN

ADDRESS
8 PENN CENTER
1628 JFK BOULEVARD

FAX NUMBER
(215) 665-8471

PHONE NUMBER
(215) 665-1200

SUITE 2200
PHILADELPHIA PA 19103

SUPREME COURT IDENTIFICATION NO,
36437

E-MAIL ADDRESS
tdicostanza@solomonsherman.com

SIGNATURE OF FILING ATTORNEY OR PARTY
PAVID SHERMAN

DATE SUBMATED

Tuesday, October 02, 02:29 pm

2032,

FINAL COPY (Approved by the Prothonotary Clerk)

Case 2:12-cv-06161-RBS Document 1

SOLOMON, SHERMAN & GABAY
DAVID B. SHERMAN, ESQUIRE
identification No, 36437

1628 JFK Boulevard, Suite 2200
Philadelphia, PA 19103

(215) 665-1100

Filed 10/31/12

Page 11 of 48

This fs a Major Jury Case,

Sai

RAPHAEL GABAY, D.O.

9500 Roosevelt Bivd.
Philadelphia, PA 19115

and

GABAY, SCHWARTZ, ENT AND
ASSOCIATES, P.C,

9500 Roosevelt Blvd.
Philadelphia, PA 19115

VS.

GLEN JOSEPHS, CPA
Friedman LLP

406 Lippincott Drive, Suite J
Marlton, NU 08003

and

FRIEDMAN LLP

406 Lippincott Drive, Suite J
Marlton, NJ 08003

e
5, Rane
ON Gi

OCTOBER TERM, 2012

NO:

COMPLAINT — CIVIL ACTION
2V —Motor Vehicle Accident

NOTICE |
You have been sued in court. If you wish to defend against
the claims set forth in the following pages, you must fake.
action within twenty (20) days after this complaint and
notice are served, by entering a written appenrance
personally or by attorney and filing in writing with the
court your defeuses or objections to the claims set forth
against you, You are warned that if you fai] to do so the
ease hay proceed without you and a judement may be
entered against you by the court without further natice for
any money claimed in the complaint or for any other claim
or relief requested by the plaintiff, You may lose money or
property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR
LAWYER AT ONCE. IF YOU DO NOT UAVEA
LAWYER, OR CANNOT AFFORD ONE, GO TO OR
TELEPHONE THE OFFICE SET FORTH BELOW TO
FIND OUT WHERE YOU CAN GET LEGAL HELP.

PHILADELPHIA BAR ASSOCIATION
LAWYER REFERRAL AND INFORMATION § ERVICE
One Reading Center

Philadelphia, Pennsylvania 191
Telephone: 215-238-1701

AVISO .

Le han demandado a usted en fa corte, Si usted quicre
defenderse de estas demandas expuestas en las paginas
siguientes, usted liene viente (20) dias de plaza al partir de
la fecha de la demanda y Ja notificacton, Hace falta asentar
no Comparensencia escritn o en persona o con un abogada
¥ entregar a fa corte en forma escrita sus defensas o sus
ebjecionces a fas demandas en contra de su persona. Sua
avisado que si usted no se defiende, la corte tomara
medidas y puede continuar la demanda en contra suya sin
previo aviso o notificacion. Ademas, 2 corte pucde decidir
a favor del demandante y requiere que usted cumpia con.
todas las previsioncs de esta demanda. Usted puede perder
dinero o sus propiedades u otros derechos importantes para
usted.
LLEVE USTA DEMANDA A UN ABOGADO
INMEDIATAMENTE, SI NO TIENE ABOGADO 0 8}
NO TIENE EL DINERO SUFICIENTE DE PAGAR TAL
SERVICIO, VAYA EN PERSONA O LLAME POR
TELEFONO A LA OFICINA CUYA DIRECCION SB
ENCUENTRA ESCRITA ABAJO PARA AVERIGUAR
DONDE SE PURDE CONSEGUIR ASESTENCIA LEGA,

ASOCIACION DE LICENCIADOS DE FILADELFIA
SERVICIO DE REFERENCIA E INFORMACION

LEGAL

One Reading Center Case ID: 121000444.
Filadelfia, Pennsylvania 19107

Telefono: 215-238-1701 1
Case 2:12-cv-06161-RBS Document1 Filed 10/31/12 Page 12 of 48

SOLOMON, SHERNIAN & GABAY This is a Major Jury Case.
DAVID B. SHERMAN, ESQUIRE
Identification No. 36437
1628 JFK Boulevard, Suite 2200
Philadelphia, PA 19103

(215) 665-1100 Attorneys for Plaintiffs

COURT OF COMMON PLEAS

RAPHAEL GABAY, D.O.
PHILADELPHIA COUNTY

9500 Roosevelt Bivd.
Philadelphia, PA 19115

and

GABAY, SCHWARTZ, ENT AND
ASSOCIATES, P.C.

9500 Roosevelt Bivd,
Philadelphia, PA 19715

Vs. SEPTEMBER TERM, 2042

GLEN JOSEPHS, CPA
Friedman LLP

406 Lippincott Drive, Suite J
Marlton, NJ 08003

and

FRIEDMAN LLP

406 Lippincott Drive, Suite J

Manton, NJ 08003 NO:

COMPLAINT — CIVIL ACTION
PROFESSIONAL MALPRACTICE
4Y -~- Other
1. Plaintiff, Raphael Gabay, D.O., (hereinafter “Gabay") is an adult individual

and physician/owner of Gabay, Schwartz, ENT and Associates, P.C. at all times

pertinent hereto providing medical services at the above-listed address.

2. Plaintiff, Gabay, Schwartz, ENT and Associates, P.C. (hereinafter "GSA")
is a Pennsylvania corporation and other medical care provider authorized to do

business in the Commonwealth of Pennsylvania at the above-listed address.

Case ID: 121000444
Case 2:12-cv-06161-RBS Document1 Filed 10/31/12 Page 13 of 48

3, Defendant, Glen Josephs (hereinafter “Josephs”) is a Certified Public

Accountant and provides accounting services in the Commonwealth of Pennsylvania

with offices at the above-listed address.

4, Defendant, Friedman LLP is a New Jersey corporation and/or other
business providing accounting services in Pennsylvania at the above-listed address.

5. At all times pertinent hereto, and for years commencing in approximately
2000, Defendants were retained by Plaintiffs to provide complete accounting services,
including but not limited to preparing tax returns, financial statements, providing

financial and tax advice, and all matters relating to the financial business of the

Plaintiffs.
6. At ail times pertinent hereto, the Defendants provided accounting and tax

services to the Plaintiffs specifically with regard to potential tax shelters and retirement

plans.
7, Approximately in the year 2005, the Defendants represented to the

Plaintiffs that they should participate in tax shelter-employer contribution plans for

retirement purposes called a BETA Individual Employer Welfare Benefit Plan and trust -

Pian 1 (hereinafter referred to as “the Plan”).

8. At all times pertinent hereto, the Defendants represented to the Plaintiffs

that the Plans would provide the Plaintiffs with a legal tax shelter in the form of a

retirement contribution which would reduce tax liability and specifically “shelter” income.
9, At ali times pertinent hereto, the Defendants instructed, informed and

advised the Plaintiffs that the aforesaid Plans satisfied all tax regulations, codes, laws

and statutes, and would comply with all internal Revenue Service regulations.

Case ID: 121000444
Case 2:12-cv-06161-RBS Document1 Filed 10/31/12 Page 14 of 48

10.  Atall times pertinent hereto, the Plaintiffs totally relied upon those
material representations in all respects and specifically as to the legitimate status of the

Pians and Its compliance with [RS rules and regulations.

44, From 2004-2008, the Plaintiffs consistent with instructions from the
Defendants contributed $250,000 and complied with all requirements fo maintain the
legitimate and effective status of the Plans as prescribed by the Defendants.

42. In March of 2008, the Plaintiffs were informed by the Internal Revenue
Service that the Plans were subject fo an audit.

43, Upon receipt of that information, Plaintiffs requested the Defendants to

represent them in these matters, and defend the audit.

44, The audit occurred over the time period from 2008 to 2012, wherein the
Plaintiffs were required to expend substantial time and money in providing various
documentation and information as requested from the Internal Revenue Service.

15. During the course of the audit, Plaintiffs also retained the services of the
law firm of Michelle Espey, Esquire to assist in defending the audit and challenge the

allegations made by ihe Internal Revenue Service, to disqualify and otherwise penalize

Plaintiffs.
16. During the course of the IRS audit, the IRS alleged and concluded that

the taxpayers (plaintiffs in this action) failed to file a basic but necessary form to

maintain legal status of the Plans.

17.  Asaresult of the aforesaid conclusion, the Plaintiffs were fined

substantial sums in penalty outlined specifically hereinafter.

Case ID: 121000444
Case 2:12-cv-06161-RBS Document1 Filed 10/31/12 Page 15 of 48

18. All actions of the Defendants were committed by the Defendants through

their agents, servants, workmen and employees.

COUNT I
Raphael Gabay, M.D. vs. Defendant, Glen Josephs, CPA and Friedman LLP

19. Plaintiff incorporates by reference each and every averment contained in

paragraphs 1 through 18 inclusive of the instant Complaint as though the same were

hereinafter fully set forth.

20. In January of 2012, after much negotiation, counsel fees, time and
expense, the Plaintiffs were requested to pay penalties in the amount of $85,000.00.

21.- During the course of the IRS audit, the IRS alleged and concluded that
the Plaintiff, Gabay failed to file a form 8886 for 2007.

22. With respect to Plaintiff, Gabay, individually, the IRS subsequent to the

audit, rendered the following conclusions:

(a) Fined Plaintiff, Raphael Gabay $85,000 (reduced originally from
$100,000) rendering the following conclusions:

(b) Failing to disclose participation by filing form 8886 with Office of
Tax Administration for year December, 2007, and such was fined $80,305.00. See
Exhibit “B”, IRS Conclusion;

(c) Failing to attach form 88886, See Exhibit “B”.

23. Asa result of the audit, as contained in reports generated by the IRS, it

was rendered crystal clear that Defendants failed to file a simple form on behalf of all of

the Plaintiffs termed “Form 8886" which would have effectively notified the IRS of the

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deduction(s) for the years in question, thus triggering the aforesaid penalty and
expenses.
WHEREFORE, Plaintiffs demand judgment against the Defendants, joinily,
severally and singularly in a sum in excess of Fifty Thousand ($50,000.00) Dollars.
COUNT I

Gabay Schwartz ENT & Associates, P.C. vs. Defendant,
Glen Josephs, CPA and Friedman LLP

24, Plaintiff incorporates by reference each and every averment contained in

paragraphs 1 through 24 inclusive of the instant Complaint as though the same were

hereinafter fully set forth.

25. Onor about (date), after much negotiation, counsel fees, time and
expense, the Plaintiff, GSA were requested to pay penalties in the amount of Ten

Thousand ($10,000.00) Dollars.
26.  Puring the course of the [RS audit, the IRS alleged and concluded that

the Plaintiff, GSA failed fo file a form 8886 for 2007.
27. With respect to Plaintiff, GSA, the IRS subsequent to the audit, rendered

the following conclusions:
{a) Fined Plaintiff, Gabay $10,000 rendering the following conclusions:

(b) Failing to disclose participation by filing form 8886 with Office of
Tax Administration for year December, 2007, and such was fined Ten Thousand

($10,000.00) Dollars. See Exhibit “B’, IRS Conclusion.
{c) Failing to attach form 88886. See Exhibit “B”.

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28. As a result of the audit, as contained in reports generated by the IRS, it
was rendered crystal clear that Defendants failed to file a simple form on behalf of ail of
the Plaintiffs termed 8886 which would have effectively notified the IRS of the

deduction(s) for the years in question thus triggering the aforesaid penalties and

expenses.

WHEREFORE, Plaintiffs demand judgment against the Defendants, jointly,

severaily and singularly in a sum in excess of Fifty Thousand ($50,000.00) Dollars.

Count TH
Negligence

29. ‘Plaintiffs incorporate paragraphs 1-28 of this Complaint as if the same as

though the same were set forth fully herein.

30, Ataill times pertinent hereto the Defendants held themselves as

professional experts in the area of accounting and providing financial advice with regard

to retirement plans and tax shelters.

31. Atal times pertinent hereto the Plaintiffs collectively relied upon the

Defendants with regards to their knowledge and expertise concerning the above-

referenced matters.

32, At all times pertinent hereto the Defendants rendered advice as experts in

the area of accounting and with regards to all specific matters concerning the Plans set

forth above.
33, In addition, at all times pertinent hereto, the Defendants ensured the

Plaintiffs would satisfy all legal requirements with regards to maintaining legitimate

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Status of the Plans, and specifically would file alt appropriate documentation to
maintain the status of the plan in a Jega! and compliant manner.

34. in addition, the Defendants were specifically negligent and careless in the

following tanner:
{a) Failing to properly advise the Plaintiffs with respect to the

legitimacy and compliance and authenticity of the Plans for the purposes intended;

(b) Failing to provide proper and adequate advice with regards to the

suitability and acceptance by the IRS with regards to the Plans;

(¢) Failing to investigate and/or research the legitimacy, legality, and

acceptance of the Plans with regards to IRS regulations and protocol:

(d} Failing to properly advise the Plaintiffe of the serious potential and

possibility of expenses, audit and challenges by the IRS of the legitimacy of the

aforesaid Plans.
(e) Failing to provide the Plaintiffs with alternatives that would have

been either less risky or without any risks avoiding expense, audit and the penalties as

set forth above;
( Failing to advise the Plaintiffs with respect to all proper

requirements of the IRS to maintain the legitimacy and compliance of the Pians;

(g) Failing to file all proper filings, including but not limited to Form

8886 for both Plans, thus resulting in serious expenses, penalties and losses;

(h) Failing to file and comply with other requirements regarding the

Pians;:

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(i) Failing to present the Plaintiffs with viable alternatives which would
have been compliant with all IRS rules and regulations;
{i} Receipt of financial enumeration in the form of benefits, fees,

commissions and payments without proper disclosure and in conflict with the interests

of the Plaintifis;

(k) Failing to monitor, advise, file and take ail appropriate action to the
benefit of the Plaintiffs with regards to tax shelters.
WHEREFORE, Plaintiffs demand judgment against the Defendants, jointly,
severally and singularly in a sum in excess of Fifty Thousand ($50,000.00) Doilars,

Count Il
Negligent Representation

35. Plaintiffs incorporate paragraphs 1-34 of this Complaint as if the same as

though the same were set forth fully herein.

36. At ail times pertinent hereto the Defendants represented the legitimacy

and compliance of the Plans.

37. The Plaintiffs relied upon Defendants’ representations and participated in

the Plans.

38. The misrepresentations as to their legitimate status and that the

Defendants would file all proper forms was substantial and material, resulting in harm to

the Plaintiffs.

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WHEREFORE, Plaintiffs demand judgment against the Defendanis, jointly,

severally and singularly for the misrepresentation in a sum in excess of Fifty Thousand

{$50,000.00} Dollars.

BY:

DAVID Bf SHERMAN, ESQUIRE

Attorney for Plaintiffs

Dated: October 2, 2012

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Case 2:12-cv-06161-RBS Document1 Filed 10/31/12 Page 21 of 48

“Sep. 27. 20121 L:47AyE ommnieg wou vewweroow tle, 6106 B. D/DeeH

VERIFICATION

I, RAPHAEL GABAY, hereby verlfy that the statements made in the foregoing
Civil Action Complaint, are true and correct to the best of my information, knowledge
and belief after reasonable inquiry, I understand that statements made herein are subject

to the penalties of 18 Pa C.8.A. Section 4904, relating to unswom falsification to

authorities,
, bes ee
RAPHAEL OO
DATED: g 2042

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Case 2:12-cv-06161-RBS Document1 Filed 10/31/12 Page 22 of 48

EXHIBIT “A”

Case ID: 121000444.
Case 2:12-cv-06161-RBS Document1 Filed 10/31/12 Page 23 of 48

SCHEDULE NO, OR

f

' Treasury Regulation section 1.6014 1-4 for the tax yea

_ Form 886-A
(REV. JANUARY 1994) Ee en eary 2008 EXHIBIT
NAME OF TAXPAYER TAX IDENTIFICATION NUMBER YEAR/PERIOD ENDED
Raphael Gabay XXX-XX-XXXX © , December 31, 2007
Year 3007.
Penalty per Section 6707A $85,305.00

_ ("Multiple Employer Pian” or "MEP")

Whether Raphael Gabay (herelnafter the “Taxpayer’) is subject to the LR.C. § 6707A' penalty
for failure to disclose a reportable transaction pursuant to section 6011 and the associated

regulations?

a) Is the BETA Individual Employer Welfare Benefit Plan and Trust (hereinafter the
"Plan”) the same as, or substantially similar to, the transaction described in IRS Notice 2007-

837

b) Has the Taxpayer participated in a listed’ transaction during the tax year(s) ended
December 31, 2005, December 31, 2006 and December 31, 20077

¢) Did the Taxpayer fail to properly. disclose its participation in accordance with
r ended December 31, 2007 by failing to

file Form 8886;

(1) With its Income Tax Return, Form 1040, for the year shown above; and/or,

(2) With the Office of Tax Shelter Analysis (hereinafter “OTSA"),  *

FACTS

from Gabay Schwartz Ent & Associates Inc.'s (hereinafter
BETA Multiple Employer Death Benefit Plan and Trust
and subsequent adoption of the BETA Individual

Employer Welfare Benefit Plan and Trust (“Single Employer Plan" or "SEP”),

7 The issues in this case arise
the,"Employer’). participation in the

oO The Employer is a S Corporation. The individual Taxpayer's ownership js listed below:

Shareholder/ Partner Name Plan Participant ? Ownership %

ee a Yes/No robe teen .

' [Raphael Gabay me fos Megan me 74.0%. ..2005,. 2006.10. oo.
ae “a * 193.6% 2007 mT,

4 .

TAllcode SBctions are toe Internal Revenue Code-of4 986;-as-amended-and:ineffect fori

the years at issue, te

DEPARTMENT OF THE TREASURY: INTERNAL REVENUE

FORM Ba6-A (REV. 04-94) Page 4
SERVICE Case ID: 121000444
“ Raphael Gabay - | §38-76-2597

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7 SCHEDULE NO. OR

From 886-4 EXPLANATION OF ITEMS EXHIBIT

REV, JANUARY 1994)
Rev. January 2008

YEAR/PERIOD ENDED

TAX IDENTIFICATION NUMBER
December 31, 2007

_ NAME OF TAXPAYER

‘Thus, the Beta Plan arrangement has all four of the elements fisted in Notice 2007-83.

Accordingly, the Beta Plan arrangement is the same as, or substantially similar to, the

transaction described In Notice 2007-83.

The Employer entered the BETA Individual Employer Welfare Benefit Plan on or after

February 28, 2003. As a result of the deductions claimed by the Employer with respect to its

"contributions in the Plan, the amount of income flowing through to the Taxpayer's indlvidual

return, Form 1040, was reduced and the Taxpayer benefited from the Empioyer's
participation in the Plan, Thus, the Taxpayer participated In a listed transaction during the tax
year(s) ended December 31, 2005, December 31, 2006 and December 31,.2007. Thus, the
Taxpayer had a requirement to aftach a Form 8886,.Reportable Transaction Disclosure

~ Statement'to the Taxpayer's return for the tax year ended December 31, 2007. and file a copy

of the Form 8886 with the Office of Tax Shelter Analysis (OTSA).

Tha Employer did not attach the Form: 8886 Reportable Transaction Disclosure Statement to
its return for the 2007 tax year.

The Employer did not file a copy of the Form 8886 Reportable Transaction Disélosure

“Statement to Office of Tax Shelter Administration for the 2007 year, the first year required per

notice 2007-83.

The Taxpayer is subject to the penalty under section 6707A for the tax year(s) ended
December 31, 2007,

CONCLUSION

The taxpayer participated in a Listed Transaction and did not disclose such participation by ,

o -proparly filing Form 8886. The taxpayer's failure to'disclose was-due to the failure to! 1)

attach the Form 8886, Reportable Transaction Disclosure Stateniént; fo his return for the
years. December 31, 2007, AND 2) file a copy of the Form 8886, Reportable Transaction

Disclosure Statement, to Office of Tax Shelter Administration for the years, December 31,
2007. -

Accdrdingly, Taxpayer | iS. lable for the penalty under section 707A i in the amount of
$85, 305. 09 for the tax year ended December 31; 2007. ~

"One or more worksheets are aitached showin the, dalculation ‘of the penalty.”

some apeercones steer sam eige area autem gry seal aden tee ane cee we apes vanes on

FORM 888-A (REV, 01-04) Page 12 DEPARTMENT OF THE TREASURY~ INTERNAL
REVENUE SERVICE Case ID: 121000444
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Form 886-A : .
‘ ‘ EXPLANATION OF ITEMS EXHIBIT
¥. JANU °
RE ARY 1994) Rev. January 2008
NAME OF TAXPAYER TAX IDENTIFICATION NUMBER YEARIPERIOD ENDED
Raphael Gabay XXX-XX-XXXX December 31, 2007
| Shiemploves #2 Yes 26.0% 2005, 2006 |
[ 6.4% 2007

The Employer participated in the Multiple Employer Plan prior to the amendment of the

MEP and creation and adoption of the Single Employer Pian, and the concurrent allocation of

MEP assets to the single employer plans. The Employer adopted the Multiple Employer Plan

‘ by executing an Adoption Agreement effective n/a. A copy of the Adoption Agreement, along
with other information was requested and never provided. .

Under the’ Multiple Employer Plan, current life insurance protection was provided to
covered employees. ‘A covered employee designated the beneficiary of the.death proceeds
payable upon the employee's death. The Multiple Employer Plan purported fo be a welfare

’ benefit fund that met the exception provided by section A49A(f)(8) from contribution deduction
limitations Imposed under sections 419 and 419A. Section 419A(f)(6) applies only to
contributions to a plan to which more than one employer contributes and te which no -
employer normally contributes more than 70 percent of the total contributions contributed to
the plan by all employers. Furthermore, the exception applies only if the plan does not .
maintain experience-rating arrangements with respect to individual employers. A plan does
not meet the requirements of section 419A(/)(6) unless 10 or more employers contribute to a
single pool of funds, and that single poo! of funds is for the use of the group of employers as
a whole (e.g,, to pay the claims of all employees covered under the plan). Booth etal. v.

Commissioner, 108 T.C. 524 (1997).

_ Participating employers made contributions to the Multiple Employer Plan, which the
Pian Trustee used to purchase life insurance policies from third-party insurance carters on
the lives of the employer's employees, owners, or other persons. Under the terms of the
arrangemerit, the policies were owned by the Beta Multiple Employer Welfare Benefit Plan
and Trust, which utilized a non-exempt trust to hold the plan assets. Each covered employee
selected the beneficiary of thé death benefits payable under the MEP upon the employee's
_ .death:. The insurance policies were generally types of life Insurance policies in. which a

~ portion of policy premiums are allocated to a cash value account within ihé policy that _
accumulates ‘ds piemitims are paid and interest or other investment accruals are credited by
the issuer. These types of policies are commonly referred to as Whole Life, Universal Life

(UL) or Variable Universal Life (VUL).

Finanoe; Ine, ("DF"), amended the Multiple Employer _ oo
Plan.to create the Single Employer Flan, an arrangement under which a separate single
employer plan’is provided -for each:participating-employer. .A.common trust holds the plan.

_assets of. each employer's single. employer plan. The Multiple Employer Plan assets

allocated, to the individual single employer plans remained with the Trustee, of the Muttiple
- Employer Plan, North Fork Bank, and.a “common administration trust" was established to
hold the plan assets of each employers Single einployer plan: However-underthe- Single pment tien be ane

_” The Plan Sponsor, Designs for

FORM 886-A (REV, 01-94} Page 2 DEPARTMENT OF THE TREASURY— INTERNAL REVENUE

SERVICE
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SCHEDULE NU, UN

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(REV. JANUARY 1994} - EXPLANATION OF [TEMS EXHISIT
Rev. January 2008

YEAR/PERIOD ENDED

NAME OF TAXPAYER TAX IDENTIFICATION NUMBER
December 31, 2007

Raphael Gabay §38-76-2597

Employer Pian, there is separate accounting with respect to the participants of each
employer's single employer plan,

"' The Multiple Employer Plan assets allocated to single employer plans were no longer
subject to claims relating to employees of other employers. In other words, assets
atiributable to amounts previously contributed to the Multiple Employer Plan (as well as
assets attributable to subsequent contributions to an employer's single employer plan) were
held for the exclusive benefit of the employee(s) of the employer who had contributed such
amounts. Further, these assets were held without any risk, which purportedly existed under
the Multiple Employer Plan, that the assets could be used for the employees of other

employers.

+ Both the Multiple Employer Plan and the Single Employer Plan provided death benefits
funded through cash value life insurance policies. Although the Beta Individual Employer
Arrangement allowed for the provision of other benefits, a July 13, 2005, opinion ietter fo DFF
states that as of that date, the Single Employer Plan provided no sick and accident benefits,
no disability or severance benefits, or any “other benefits” similar to life, sick or accident
benefits, and there was no intention to provide such benefits.

There are at least three Plan and Trust Agreements for the Beta Individual Employer
Welfare Benefit Plan and Trust dated January 1, 2003. All versions are signed by the Plan
-Sponsor, OFF, and the Trustee, North Fork Bank: two versions provide an execution date of
_ December 1, 2003, and the third is undated. The signatures are unique to each document.

There is also an amended Single Employer Plan and Trust Agreement dated January 1,

2006, which was executed on December 30, 2006.

'. A Multiple Employer Welfare Benefit Trust Severarice Agreement effective January 1,
' 2003,-was signed by DFF, North Fork Bank arid Pointe Benefit Consultants. There is no date «
_on the Agreement that corresponds to thie signatures and no information has been provided
" regarding the date the Severance Agreement was signed, Thé Severance Agreement states

that the Béta Multiple Employer Plan “contains more favorable features and flexibie

administration terms for covered employers and their participating employees, than would a |
' » Plan which meets and complies with all of the requirements of the regulations" for section
_.. 419A((6). As a result, the parties to the Agreement have decided "to Sever the existing

‘BETA Plan and Trust into separate individual employer plans maintained under a common

administration trust.” The parties to the Agreement desire “to. modify thelr participation in the

: ‘BETA Plan and continuing under the newly established single, employer format with Master
“Trust Agreement: The-Agreement-further.states that Pointe Benefit “established a common

“- 449(e) trust for Plan years subsequent to Decefnber 31,2003,” cdntributions To which “are™” ~~~:

' subject to the funding limitations set forth under Section 419A(c) of the.Code, as actuarially

__determined by an actuary.” |

FORM 886-A (REV, 07-94} Page 3 DEPARTMENT OF THE TREASURY-, INTERNAL REVENUE

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Form 886-A . Vereen:
UIREV. JA EXPLANATION OF ITEMS _ | EXHIBIT
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NAME OF TAXPAYER TAX IDENTIFICATION NUMBER YEAR/PERIOD ENDEO
Raphael Gabay XXX-XX-XXXX . December 31, 2007

Subsequent to the adoption of the Single Employer Plan, the BETA Plan Trustee
requested that the ownership of the following life insurance policies be transferred from the
_ “North Fork Bank as Trustee under the BETA Multiple Employer Welfare Benefit Pian & Trust
, dated 8/24/94 - 275 Broadhollow Road — Melville, NY 11747 TIN XX-XXXXXXX" to the "North
- " Fork Bank as Trustee under the BETA Individual Employer Welfare Benefit Plan & Trust
dated 1/1/03 ~ 18530 Mack Ave., Suite 319 ~- Grosse Pointe Farms, Mi 48236 TIN f4-

3244499."

Covered Employee Insurance Co, Policy # Date Beneficiary
‘ : Change Was Requested
Raphael Gabay Guardian 4046410 Wa
Employee #2 Guardian fla. ‘née |

' The Employer contributed the following amounts to the Beta Individual Empioyer
Welfare Benefit Plan:

Year Contribution
(net of annual fee)
2005 $178,784
2006 $250,000
13007 $0

“The Employer deducted the following amounts on its.Form 4 1208 in regard to the
‘contributions it made to the Plan: St betas :

Year Deduction ont tree
2005 © Pension, Profit $178,784 ..
. Sharing, Etc. oe
PT ITTB99Gg | Pension, Profit ..:.|-$250,000 2. ner nee te  feseusngicn ee ob dee ve
a Lt Sharing, Etc. Po ya Fe

— —_ se eatin bee

FORM 885-A (REV. 01-94) , Page 4 DEPARTMENT OF THE TREASURY— INTERNAL REVENUE

SERVICE
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" -eircumstances, the Employer "shall have t

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corm 886-A . SCHEDULE NO. OR
* (REV, JANUARY 4994) EXPLANATION OF ITEMS EXHIBIT
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NAME OF TAXPAYER TAX IDENTIFICATION NUMBER YEAR/PERION ENDED
Raphael Gabay 38-76-2597 December 31, 2007

ome flowing through to the Taxpayer's

As a result of these deductions, the amount of inc
payer benefited from the Employer's

individual Return, Form 1040, was reduced and the Tax
participation in the Plan.

he ability to terminate its participation and cause the distribution of
tiriued under the Single Employer Plan. The Beta Individual
n and Trust Agreement (the “Beta Individual Employer
ecember 1, 2003, states that, under certain

he right to terminate [the] Plan and, Trust as a

withdrawal by delivering written notice of such termination to the Recordkeeper to be
forwarded to the Trustee with properly authorized written directives.” Beta Individual
Employer Agreement, Article 6.03. The circumstances required are any which meet one of
five criteria pertaining to the status or operation of the employer's business, One of the
criferia is merely that “[a] determination of the majority in ownership interest of the employer's
equity by vote and value that the continuation of the Plan is not In the best interests of the
Employer and its employees on an ongoing basis” has been made. Id. Thus, even assuming

_ that the rules put forth in the Beta Individual Employer Agreement are followed in practice, an

employer can terminate its, participation In the Beta Individual Employer Arrangement {and

thus terminate its single employer plan) at any time by providing written notice to the
Arrangement. .

The Employer had t
the insurance policies con
_ Employer Welfare Benefit Pla
Agreement” or the “Agreement’), dated D

The Beta individual Employer Agreement provides for the distribution of the assets of

the trust associated with an employer's single employer plan, upon an employer's termination
of participation in.the Beta individual Employer Arrangement. See Beta Individual Employer
Agreement Article 6.03(c). Under the Agreement, the distribution would be determined by a
ratio based on either (1) an employee's PS-58 costs as compared to the total PS-58 cosis. ot
all covered employee's, or (2) an employee's compensation as compared to the total
compensation of all covered employees. See Agreement Article 6.03(c)(Ifi).”

”.. "The Einployer did not attach the Forin 8886 Reportable Transaction Disclosure’
Statement to its return for the 2007 taxyear, SS

“ The Employer did not file a copy of the Form 8886 Reportable T ransaction Disclosure
Statement to Office of Tax Shelter Administration for the 2007 year, the first year required per

- notice 2007-83.

. Section 6707A(a) provides that “any person who fails to include on any return ‘or statement - |
any, information with respect to a reportable transaction which is required under section 6011" -
to be included with stich returrrorstatement-shall-pay-a-penalty-in-the. amount determined meee nee oe seen

under subsection (b).”

DEPARTMENT OF THE TREASURY-- INTERNAL REVENUE

FORM 886-A (REV, 01-94) Page 5
SERVICE Case ID: 121000444
. . of.a plan. There are six categories of repo

~~ “prlisted:fransaction-is-a-transaetion-that.is.the.same.as.o

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| Form 886-4. _ *
| (REVJANUARY 1994) EXPLANATION OF ITEMS . | EXHIBIT
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YEARIPERIOD ENDED

NAME OF TAXPAYER TAX IDENTIFICATION NUMBER
December 31, 2007

Raphael Gabay XXX-XX-XXXX

Section 6707A(b} imposes a penalty for failing to disclose participation in.a ‘fisted
transaction" in the amount of 75 percent of the decrease in tax shown on the return as a
result of such transaction (ar which would have resulted from such transaction if such
transaction were respected for Federal tax purposes). The amount of the penalty shall not
exceed $200,000 and $100,000 in the case ofa natural person and shall not be less ihan
$10,000 and $5,000 in the case of a natural person for assessments made after December

31, 2006.

_ Section 6707A (d) (1) grants the Commissioner authority to rescind ail or a portion of any

penalty imposed under section 67074 if (1) the violation relates.to a reportable transaction
thatds not a listed transaction and (2) rescission of the penalty would promote compliance
with the requirements of the Code and effective tax administration.

Section B707A(c}{2) defines the term “listed transaction" to mean a reportable transaction
'. which: is the same as, or substantially similar to, a transaction specifically identified by the
Secretary as a tax avoidance transaction for purposes of section .6011 ao

February 28, 2003 (Taxpayers Way Rely on

- For Transactions Entered Into On Or After
d Into On Or After January 4. 2003) and

These Regulations For Transactions Entere
Before August 3, 2007 (T.D. 9046}

‘All references to § 1,6011-4 are to that regulation as modified by TD 9046, 2003-1 C.B. 614.

Every, taxpayer that has participated, as described in § 1.601 4-4(c)(3), ina reportable
ired to file a tax return must

transaction within the meaning of § 1.601 1-4(b) ard who is require
"attach to its return for the taxable year described in § 1.601 1-4(e) a-disclosure statement in
‘the form prescribed by §1,6011-4(d)}. : Treas. Reg. § 1.6011-4(a). - - wo

” Aréportable transaction is 4 transaction described in § 1.601 1-4(b){2) through,(7). The ferm
transaction includes all of the factual elerients-relevant to the-expected tax treatment of any

” investment, entity, plan, or arrangement, and includes-any series, of steps carried out as part
rtable transactions: listed transactions, confidential

ransactions, transactions with a”

‘trangactions, transactions with contractual protection, loss t
period. Treas.

significant book-tax difference, and transactions irivalving.a brief asset holding
Reg. § 1.60141-4(b)(1). o
r substantially similar to one of the

types of transactions that the internal Revenue Service (IRS) has determined tobeatax
avoidance transaction and identified by notice, regulation, or other-form-.of published

__guidance as a listed transaction. Treas. Reg. § 1.601 4-4(b}(2).

FORM §86-A (REV. 01-94) Page 6 DEPARTMENT OF THE TREASURY~ INTERNAL REVENUE

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‘The disclosure gtaternent for a reportable transaction, Fo

copy of the disclosure statement mustbe sent to OTSA at the same time that an

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Form BB6-A EXPLANATION OF ITEMS NuBT
| Form 886- OF ITEM EXHIBIT

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“ mee Rev. January 2008

NAME OF TAXPAYER TAX IDENTIFICATION NUMBER YEAR/PERIOD ENDED
Raphael Gabay _ | §38-76-2597 December 31, 2007

A taxpayer has participated in a listed transaction if the taxpayer's tax return reflects tax
consequences or a tax strategy described in the published guidance that lists the transaction
under § 1.6011-4 (b)(2). A taxpayer also has participated in a listed transaction if the

taxpayer knows or has reason to know that the taxpayer's tax benefits are derived directly or

indirectly from tax consequences ora tax strategy described in published guidance that lists a

transaction under § 1.607 1-4(b)(2). Published guidance may identify other types or classes.
of persons that will be treated as participants in a listed transaction. Treas, Reg. § 4.6011-.

4(c)(3)(I)(A).

The term substantially similar includes any transaction that is expected to obtain the.same or
similar types of tax consequences and that Is either factually similar or based on the same or

' gimitar tax strategy. Receipt of an opinion regarding the tax consequences of the transaction

‘ ig not relevant to the dete
‘similar to another transaction. Further, the term substantially similar must be broadly

" construed in favor of disclosure. Treas. Reg. § 4.6011-4{c)(4). -

rmination of whether the transaction is the same as or substantially

rm 8886 “Reportable Transaction

Disclosure Statement” (or successor form), must be attached to the taxpayer's tax return for

each taxable year for which a taxpayer participates In a reportable transaction. in addition, a
y disclosure

statement is first filed with the taxpayer's tax retuin,

Ifa transaction becomes a listed transaction after the filing of the taxpayer's final tax return

, reflecting either tax consequences or a tax strategy described in the published guidance
listing the.transaction (or a tax benefit derived.from tax consequences or.a'tax strategy

described in the published guidance listing the transaction) and before the. end of the statute

° of limitations period for that return, then a disclosure statement must be filed as an
' aitachhent to the taxpayer's tax return next filed after the date the transaction is listed...

(4)

-oByblishes-a-notice:identifying the.trarisaction.as.a.listed transaction desoribed in, we Sewn e

“2 Statute of limitations for F's 2004 taxable year is still open. F.is required to file Form.”

”. "B886 for ihe transaction as an sitachnrant to F’snextfiled-Federal:ineome-tax-feturn-—-- teen

FORM 886-A (REV. 01-94} Page 7 DEPARTMENT OF THE TREASURY-- INTERNAL REVENUE
SERVICE .
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SUMBUULL Wu, wet

, Form 886-A

\ EXPLANATION OF ITEMS . EXHIBIT
REV, JANUARY 199

_ FEY. ARY 1988) Rev. January 2008 _ t

YEAR/PERIOD ENDED

NAME OF TAXPAYER TAX IDENTIFICATION NUMBER
December 31, 2007

Raphael Gabay . §38-76-2597

and must send a copy of Form 8886 to OTSA. If F's 2007 Federal income tax return
has not been filed on or before the date the Service identifies the transaction as a
listed transaction, Form 8886 must be attached to F's 2007 return and at that time a

copy of Form 8886 must be sent to OTSA.

‘Notice 2007-83

In Notice 2007-83, the IRS alerted taxpayers and their representatives to some of the
significant tax problems that may be raised by certain trust arrangements claiming to be

welfare benefit funds and invoiving cash value life insurance policies that are being promoted

to and used by taxpayers to improperly claim. federal income and employment tax benefits.

_ The notice alerts taxpayers and their representatives that those transactions are tax
avoidance transactions and identifies certain transactions using trust arrangements involving |
cash value life insurance policies, and substantially similar transactions, as listed: transactions
for purposes of § 1.601 1-4(b)(2) of the Income Tax Regulations and §§ 61 44 and 6112 of the

Code, .

Notice 2007-83 describes generally arrangements that are sometimes referred to by
. the.persons advocating their use as “single employer plans" and sometimes as *419(e}
plans.” Those advocates claim that employers’ contributions to the irust are deductible under
sections 419 and 419A as qualified costs2 but that there is not a corresponding inclusion in

the owner's income.

Under these arrangements, the plan and trust documents indicate that the plan °

_> provides benefits.such as current death benefit protection and certain welfare benefits to

__ Covered employees (including thése employees who are also owners of the business). The
oo arrangement provides that the benefits are payable while the employee is actively employed
°°" by the employer. The employers contributions. are often based on-premiums charged for
cS cash value life insurance policies. For example, contributions may be based on premiums
_ * that would be charged for whole life policies. As a result, the arrangements often require

’ large employer contributions relative to-the actual cost of the benefits currently provided

under the plan. co mF Fa

JT | oo “Under these’arrangements, the trusteé uses the employer's contributions to the trust

"7.7 td purchase life insurance policies. The trustee typically purchases cash value lifé Insurance
' policiés on the lives of the employees who are owners of thé business (and sometimes other
sing term life insurance policies on the fives.of the other
plan... {tis anticipated that after. a number of years the plan will
Her propery held by the"

mot dees "! trust will be distributed. to the emplayees who are plan participants. at the time of the.

“9 Section 419(c)(1) of the Code generally describ
qualified asset accounts. . ,

FORM 886-A (REV. 01-94) Page 6 DEPARTMENT OF THE TREASURY-- INTERNAL REVENUE
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Raphael Gabay XXX-XX-XXXX December 31, 2007

termination. While a small amount may be distributed to employees who are not owners Of
the business, the timing of the plan termination and the methods used to allocate the
remaining assets are structured so that the business owners and other key employees will
_recelve, directly or indirectly, all or a substantial portion of the assets held by the trust.

in addition, Notice 2007-83 identifies certain arrangements as listed transactions.
Notice 2007-83 states that any transaction that has all of the following elements, and any
iransaction that is substantially similar to such a transaction, are identified as. "listed,
transactions” for purposes of § 1.601 4-4(b)(2) and §§ 6111 and 6112, effective October 17,

2007:

- (4) The transaction involves a trust or other fund described in §. 419(e)(3) that is.
purportedly a welfare benefit fund. se oe

(2) . For determining the portion of its contributions to the trust‘or other fund that are
currently deductible the employer doés not rely on the exception in § AIGATISKA)

(regarding collectively bargained plans).

miums (or amounts that are purported to be premiums)

(3) |The trust or other fund pays pre
licies and, with respect to at least one of the policies,

on one or more life insurance po
value is accumulated either:

(a) _ within the policy (for example, a cash value life insurance policy); or

oS : (6). _otitside the policy (for example, in a side fund or through an agreement outside
.. the policy allowing the policy to be converted to or exchanged for a policy which:
‘will, at some point in time, have accumulated value based on the purported.
premiums paid on the original policy). Pa te
{4) a The employer has taken a deduction for any taxable: year for its contributions to the
~ _' "fund with respect to benefits provided. under the plan (other than post-retirement .
médical benefits, post-retirement fife insurance benefits, and-child care facilities) that
is greater than the sum of the following amounts:
et (a) _’ With respect to any ininsured benefits provided under the.plan.-
~ (i) an amount equal to claims that were both incurred and. paid during-the
taxable year; plus: - potas te a
ovis Gg" ies nited reserves allowable under §4TSAT)(1Y of (CNG) aS-applicabley ==

FORM 886-A (REV, 01-94) Page 9 CEPARTMENT OF THE TREASURY— INTERNAL REVENUE
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. Form 886-A
(REV. JANUARY 1994)

SCHEDULE NO. OR

EXPLANATION OF ITEMS EXHIBIT
Rev, January 2008

NAME OF TAXPAYER
Raphael Gabay

TAX IDENTIFICATION NUMBER YEARIPERIOD ENDED
XXX-XX-XXXX December 31, 2007

Gi)

. {iv)

amounts paid during the taxable year to satisfy claims incurred ina prior
taxable year (but only to the extent that no deduction was taken for such

amounts in a prior year); plus .

amounts paid during the taxable year or a orior taxable year for
administrative expenses with respect to uninsured benefits and that are
properly allocable to ihe taxable year (but only to the extent that no
deduction was taken for such amounts in a prior year).

(b) | With respect to any insured benefits provided under the plan,

()
di

Gil)

insurance premiums paid during the taxable year that are properly

‘ atlocable to the taxable year (other than premiums paid with respect to a

policy described in (8)(a) or (b) above); plus

‘insurance premiums paid in prior taxable years that are properly allocable

fo the taxable year (other than premiums paid with respect to 4 policy
described in (3a) or (b) above); plus

amounts paid during the taxable year or a orior taxable year for
administrative expenses with respect to insured benefits and that are
properly allocable to the taxable year (but only to the extent that no
deduction was taken for such amounts in a prior year).

{c) For taxable years ending prior to. November 5, 2007, with respect to life

” ingurance benefits provided through. policies described
the greater of the following amounts:3. |

(i)

in (3)(a) and (b) above,

in the case of an employer with a taxable year that is the calendar year,
the aggregate amounts reported by the employer as the. cost of

_jnsurance with respect to such policies on the employees’ Forms W-2 (or.

‘Forms 1099) for that year, plus an amount equal.to ihe amounts that .
would have been reportable on the employees’ Forms W-2 for that year,

but for the exclusion under section 79 (relating to the'cost of up to

’ 50,000 of coverage); or, in the case of an employer with a taxable year. -

other than the calendar year, the portions of the ‘aggregate amounts.

’ reported by the eniployer ori.the Forms W-2-(or Forms 1099) as.

described in (i), above, (or that would have been reported absent the

--exclusion-under-§-79)-that-are. properly allocable.te the employers

taxable year; and =

3 For taxable years ending Gn or alter November 5, 2007, the amount under this (4){c) is zero. ©

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REVENUE SERVICE

DEPARTMENT OF THE TREASURY: INTERNAL
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EXHIBIT “BY”

Case ID: 121000444
_...Gabay. Schwartz Ent & Assoc PQ... | XX-XXXXXXX

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SCHEDULE NO, OR

Form 886-4 EXPLANATION OF ITEMS EXHIBIT

» REV. JANUARY 1994'
. Rey. January 2008

. YEAR/PERIOD-ENDED

December 314, 2007.

_NAME OF TAXPAYER, TAX IDENTIFICATION NUMBER

- | Year: ” se 2007
LPenalty per Section 6707A - cre f= $40,000.00
ISSUE

Whether Gabay Schwartz Ent & Associates PC.(hereinaiter the “Taxpayer? orthe .-.

+

“Employer’) is subject to the |.R.C. § 6707A"' penalty for failure to disclose a reportable ©...) '

transaction pursuaht te section,6014 aiid the associated regulations?

“ ay Is the BETA Individual Employer Welfare Benefit Plan and Trust (hereinafter the --. 0. 5...

“Plan”) the same as, or substantially similar to, the transaction described in IRS Notice 2007+ Soot

83?
b) Has the Taxpayer participated in a listed transaction during the tax year(s) ended .
December 31, 2005, December 31, 2006 and December 31,20077?- - .. Poy

c) Did the Taxpayer fail to properly disclose its. participation in accordance with
Treasury Regulation section 1.601 1-4 for the tax year ended December 31, 2007 by failing to

file Form 8886:
(1) With its Income Tax Return, Form 11208, for the year shown above; and/or,

(2) With the Office of Tax Shelter Analysis (hereinafter “OTSA’).

FACTS

The issues in ihis case arise from Taxpayers participation in the BETA Multiple
Employer Death Benefit Plan and Trust ("Multiple Employer Plan” or “MEP") and subsequent -.. -.
adoption of the BETA Individual Employer Welfare Benefit Plan and Trust. (“Single Employer... .

Plan” or “SEP"),

The Employer participated in the Multiple Employer Plan prior to the amendment of the...
MEP and creation and adoption of the Single Employer Plan, and the concurrent allocation of - .

? Ail code sections are to the Internal Revenue Code of 1986, as aniended and in effect for
the years at issue,

FORM 886-A (REV. 01-94) Page 1° DEPARTMENT OF THE TREASURY— INTERNAL REYGNUE5 1000444

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: SCHEDULE NO. OR
Farm 886-4
_ (REV. JANUARY 1994) EXPLANATION OF ITENS EXHIBIT
Rev, January 2008
.° NAME OF TAXPAYER ” TAX IDENTIFIGATION NUMBER - YEAR/PERIOD ENDED
ao nwiiCabay 3 Schwartz, Ent & Assoc PG PAPE OS TOA - ‘|. December'31, 2007

' MEP assets to the single employer plans. The Taxpayer adopted the Multiple Employer Plan.”
--by-executing-an-Adoption Agreement -effective-na.- Note: -A-copy-oF the: ‘Adoption Agreement mo,

“was requested and never provided.
Under the Multiple Employer Plan, current life instrance protection was provided to °

covered employees. A covered employee designated the beneficiary. of the death, proceeds «..
payabie upon the employee's death. The Multiple Employer Plan purported to be.a welfare ~-
benefit fund that met the exception provided by section 419A(#)(6) from contribution, deduction... ..
limitations imposed under-sections 41 G-and:419A; «Section 4149A(H(6) applies only to. «6 ha
-.coritributions to a.plan to. which ‘more’ than one employer.contributes, and to which no--
employer! normally: contributes more-than 10 percent of the total contributions’ contributed to -:
the plan by all employers. Furthermore, the exception applies only ifthe-plan does nof
‘maintain experience-rating arrangements with. respect to individual employers..A:plan does:
. .not meet the réquirements of section 419A(f(6) unless 10 or hore employers contribute to a-.
single pool of funds, and that single pool of funds Is for the use of the group of employers 2 as -
a whole (e.g., to pay the claims of all employees covered under the plan). | Booth eI al. Vet

‘Gommissioner, 1 08 T. C. ‘$24 (1897). .

Parlicipating employers made contributions to the Multiple Employer | Plan, which the
Plan Trustee used to purchase life insurance policies from third-party insurance carriers on
the lives ‘of the employer's employees, owners, or other persons. Under the terms of the
arrangemeni, ihe policies were owned by the Beta Multiple Employer Welfare. Benefit Pian.
and Trust, which utilized a non-exempt trust to hold the plan assets. Each covered employee
selected the beneficiary of the death benefits payable under the MEP. upon the employee's —
death. The insurance policies were generally types of life insurance policies inwhicha  -
portion of policy premiums are allocated fo a cash value account within the policy that
accumulates as premiums are paid and interest or other investment accruals are credited by.
the issuer. These types of policies are commonly referred to as Whole Life, Universal Lie”

(UL) or Variable Universal Life (VUL).

The Plan Sponsor, Designs for Finance, Inc, ("DFF"), amended the Multiple: Employer
Pian to create the Single Employer Plan, an arrangement under which.a separate single -
employer plan is provided for each participating employer, A comman trust-holds the plan
assets of each employer's single employer plan.. The Multiple Employer Plan.assets .._ .

. allocated io the individual single employer plans remained with the Trustee of the Multiple .
Employer Plan, North Fork Bank, and a “common administration trust" was established to ~.
hold the plan assets of each employer's single employer plan. However, under the Single -

. Employer Pian, there is separate accounting: with respect to the participants of each, Coe

employer's single amployer plan.

The Multiple Employer Plan assets allocated to single employer plans were no longer

subject to claims relating to employees of other employers. In other words, assets
attributable to amounts previously contributed to the Multiple Employer Plan (as weil as

- DEPARTMENT OF THE TREASURY- INTERNALREVENUE 1 000444

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, SCHEDULE NO. OR
Form 836-A .
. (REV, JANUARY 1994) Oy January 2 oe EXHIBIT
+i". °. NAME OF TAXPAYER. ot TAX IDENTIFICATION NUMBER... -. | YEARIPERIOD ENDED
ase --Gabay Schwartz, Ent.&. Kesoe. Po. 23-2965 124", - . {December 34, 2007

' assets attributable to subsequent contributions to an employer's single employer plan) were. .
' “held-forthe exclusive-benefit-of:the-employee(s)-ofthe-employer-who had contributed. such... oe
‘amounts. Further, these assets were held without any-tisk, which purportedly existed under, ue

the Multiple Employer P Plan, that the assets could be. used for the employees of ther, tet,

employers.

- Both. the Multipte Employer Plan and ithe Single Employer Plan provided. death benefi fre as
, funded through cash value life insurance policies, - Although the Beta Individual Employer, CoN eatt
. Arrangement allowed for the provision: of other benefits,-a July 13, 2008, opinion letter-to. DFF :
states that as of that date, the Single Employer Plan provided no sick and accident. benefi is, .
no disability orseverance benefits; orany:“other. benefits” similar to life, sick-or accident».

benef is, and. there. Wwas-no- intention ‘to: ‘provide such. benef ts.

There are at least three Plan and Trust ‘Agreoments for the Beta Individual Employer
Welfare Benefit Plan and Trust dated January 1; 2003. Alf versions are signed by: ‘the Plan
Sponsor, DFF, and the Trustee, North Fork Bank; two-versions provide an execution date. of
December 1, 2003, and the third is undated. The signatures are unique to each document.
There is also an amended Single Employer Plan and Trust Agreement dated January-1, |. -

. 2006, which was executed on Decernber 30, 2008,

A Multiple Employer Welfare Benefit Trust Severance Agreement effective January 1,.
2003, was signed by DFF, North Fork Bank and Pointe Benefit Consultants. There is no date
on the Agreement that corresponds to the signatures and no information has been provided _
regarding the date the Severance Agreement was signed. The Severance Agreement states.
that the Beta Multiple Employer Plan “contains more favorable features and flexible. |.
‘administration terms for covered employers and their participating employees, than would a
Plan which meets and complies with all of the requirements of the regulations” for section’
419A(/)(6). As a result, the parties to the Agreement have decided “to sever-the existing -
BETA Plan and Trust into separate individual employer plans maintained under.a common -
administration trust." The parties to-the Agreement desire “to modify their participation inthe. . -
BETA Plan and continuing under the newly established single employer format with Master...
Trust Agreement”. ‘The Agreement further-states that Pointe Benefit “established a common |
419(e) trust for Plan years subsequent toa December 31, 2003," contributions to which “are
subject to the funding limitations set forth: under rection 4719A\(c) of the Code, as actuarially

determined by an actuary." .

Subsequent: to the adoption of. the 5 Single Employer Plan, the BETA Plan:Trustee. «.. -..
requested that the ownership of the following life insurance policies be transferred from the. - a,
“North Fork Bank as Trustee under the BETA Multiple Employer Welfare Benefit Plan & Trust
dated 8/24/94 ~ 275 Broadhollow Road —Melville; NY'11747 TIN XX-XXXXXXX" fo the “North. .-
Fork Bank as. Trustee under the BETA Individual Employer Welfare Benefit Plan & Trust

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SERVICE ERY ASE 51000444
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SCHEDULE NO, OR

‘Form B86-A EXPLANATION OF ITEMS EXHIBIT

. (REV. JANUARY 1994) Rev. January 2008

_ NAME OF TAXPAYER : || TAX IDENTIFICATION NUMBER «| YEARIPERIOD ENDED.
- - December 31, 2007

 Gabay Schivart Ent& Assoc PC. XX-XXXXXXX:

dated 1/1/03-— 18530 Mack AVE. Sulte 31 O- Grosse Pointe Farms, Ml 48226 TIN tes ages

po 82444992"

Govered Einplopee _ f: insurance Bo. de policy F . Date Beneficiary,
a _ — Change Was Requested”
Raphael Gabay Guardian 4046410 Mar
Melissa Newumann- , mT do. " . Soa
Schwartz OE bo Guardian na ! Maw. t

thy hott

Se, “The. Taxpayer contributed the flowing amounts to the Beta Individual al Employ, - .
Welfare Benefit Plan. vy. er

“Year —, Clee Contribution

oe, ..-. | {netof annual fee)
S008 7 ~e ~ | $178,784
500877 $250,000

2007 - ~~~ $250,000

. The Taxpayer deducted the following, amounts on its Form 4120S in. regard-to. he,
contributions it made to the. . Plan: (starting with. a “year previous to penalty year) .

“Your a Deduction Cine description
.2008 » ° -’ Pension, Profit. | $178,784 oe
SO . __ Sharing, Eic.
-2008 «°- Pension, Profit . | $250,000
St te | Sharing, Ete. -[/.
‘ar 2OO7 °. 4° Pension, Profit $250,000
sh Sharing, Ete:: 4

The Employer. had the ability to terminate its varticipation and cause the distribution of  -
the Insurance policies. continued under the Single-Employer-Plan. The Beta Individual . no
Employer Welfare Benefit Plan and- ‘Trust Agreement (the “Beta Individual.Employer.
Agreement" or the “Agreement’), dated December 1; 2003, states that, under certain
' circumstances, the Employer “shall have the. right to terminate [the] Plan-and Trust asa
‘ withdrawal by delivering written notice of such termination to the Recordkeeper-to be-
forwarded to the Trustee with properly authorized written directives.” Beta [ndividual .

FORM 886-A (REV, 01-94) Page 4 DEPARTMENT OF THE TREASURY— INTERNAL REVENY:
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SCHEDULE NO, OR

Ee ANUARY 4994) EXPLANATION OF ITEMS EXHIBIT
, , Rev. January 2008

NAME OF TAXPAYER TAX IDENTIFICATION NUMBER |: : . | ¥BARIPERIOD ENDED
. 24. Becember 34,.2007

_ < Gabay Schwaitz Ent Assoc PC :|XX-XXXXXXX 0) >

et

:' -Employer Agreemeiity Article 6.03. The.circunstances required are‘any which meet one Of. 5.22.
» five criteria-pertaining-to the Status-or-operation of-the-ernployer's -business.-Qne- ofthe. =. * 1
criteria: is merely that “fa] determination. of the majority in ownership interest of the-employer's. - 7°:
- equity by-vote and'value that the, continuation of the Plan is not In the best interests of the..--. >
Employer and its employees on an ongoing basis” fas been made. Id: Thus,even assuming -. 67+
_ that the rules put forth‘in the Beta Individiia! Employer Agreement are followed in practice; ans...
. : employer can terminate its participation in the Beta Individual Employer. Arrangement (and, cre
-” thus terminate ifs single employer plan) at anytime by providing written notice to theo te eae
. Arrangement, - - he Ee, a te DE ma oy

‘

The Beta Individual Employer Agreement provides for the distribution of the asseis.of . bo...
. the trust associated with an employer’s single employer pian, upon an amployers termination. sr...
of participation in the Beta Individuai Employer Arrangement. See Beta Individual Employer...
Agreement Article 6.03(c). Under the Agreement, the distribution would be determined by:a..°  . .’-
ratio based on either (1) an employee’s PS-58-costs'as compared to the total PS-58 costs of..."
all covered employee's; or (2) an employee's. compensation as compared to the totals: \. i i7
compensation of all covered employees. See Agreement Article 6.03(¢) (iii). bem,

The Employer did attach the Form 8886 Reportable Transaction Disclosure Statement
to its return for the 2007 tax year. The Employer did file a copy of the Form 8886 Reportable
Transaction Disclosure Statement to Office of Tax Shelter Administration for the 2007 year.
The disclosures rade were deemed inadequate due to lack of Promoter and Administrator -

information. .

LAW -

o include on any return‘or statement
which is required: under section 6011 -
penalty in the amount determined. -

Section 8707A(a) provides that “any person-who fails t
any information with respect to a reportable transaction
to be included with such return or statement shall pay a

under subsection (b).”-

Section 6707A(b) imposes a penalty for failing to disclose participation. in a “listed -

transaction” in the amount of 75 percent of the decrease. in tax shown on the return as 4 -. -

result of such transaction (or. which would have resulted from such transaction ifsuch .- «
-transaction were.respected for Federal tax purposes). The amount of the penalty shall not... :
- exceed $200,000-and $100,000 in the case: of-a natural person and shall not be less than. coer

$10,000 and $5,000 in the case of a natural person tor assessments-‘made after December . .

371, 2006. ~ mE ce Lo Lo

Section 6707A (d) (1) grants the Commissioner-authority to rescind all ora portion of any
penalty imposed under section 6707A if (1) the violation relates to a reportable transaction .

* FORM 886-A (REV. 01-94) Page 5 DEPARTMENT OF THE TREASURY- INTERNAL REVEN
\ SERVICE Ase TLS: 5 1000444
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“ ~-with-the: requirements: ‘of the Gode and: effective: tax administration:

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“| SCHEDULE NO. OR
Form 886-4
_ (REV. JANUARY 1994) oy anuary 2 con® EXHIBIT
. - NAME OF TAXPAYER - .- ‘TAX IDENTIFICATION NUMBER. es). | YEAR/PERIOD.ENDED
ides _. Gabay Schwartz'Ent. & Assos PC 23-2965 124 Li | Becember 34-2007"

that is not a tistéd-transaction and'(2) rescission’ of the penalty would " Promot catmpliance.

fegy nae .

t

Section BZO7A(G}(2) ‘def ines: the tenn: Nsted transaction” for mean a reportable transaction:

which is the same as, or substantially similar to; a transaction-specifically identifi edt by the’.
Secretary as ‘a tax avoidance transaction for purposes of section 6011." Po Tn ae t,

For Transactions Entered 1 nto On Or After February 28. 2003 (Taxpayers ittay Rely 0 On | Lob

These Requilations For Transactions Entered Into On Or.Afier January. 4; 2003) and ao
Before August 3, 2007: 1. 2046) Ci ket DEIR S

- All references: to §: 1 ot 1nd are to, ‘hat regulation as = maui ed by: TD 9046, 2003: 1. Cc. Bk 614.

Every taxpayer that has. participated, as described 4 in § 1. 6011-4(0)(2), ina reportable

’ transaction within the meaning of § 1.6014-4(b)-and whois required. to file a tax return must,
attach to its return for the taxable year described in §-4,6011-4(e) a disclosure, Statement | in.

the form prescribed by §1.6011-4(d). Treas.-Reg. § 1.6011-4(a),

A reportable transaction.is a transaction described in § 1.6041-4(b)(2) through (7): Theterm -  —
transaction includes all-of the factual elements relevant to the expected tax treaimentofany |.
investment, entity, pian, or arrangement, and includes any series of steps carried out as part

of a plan. There are six categories of reportable transactions: listed transactions, confidential - -
transactions, transactions with contractual protection, joss transactions, transactions witha .
significant book-tax difference, and transactions involving a brief asset holding: period... Treas.

Reg. § 1.601 1:4(b)(1),

A listed transaction is a transaction that is the same as or substantially similar to-one of the
types of transactions: that the Internal Revenue:Service (IRS) has determined. to be a tex
-avoidance transaction ‘and identified by notice, -regulation, or other form’ of published...
guidance as a listed transaction. Treas, Reg. § 4 604 1-4(b)(2). mos wow

A taxpayer has participated i in a listed transaction if the taxpayer's tax return reflects tax:
consequences of a.tax strategy described in the- published guidance thatJists the transaction... -

- under §-1.60- 1-4 (b)(2)...A taxpayer.also has participated in a listed transaction /f the .-

taxpayer knows or has reason to know that the taxpayer's tax benefits are-derived directly’ or:
indirectly from tax consequences or a tax’strategy described in published.guidance, that lists a:

. fransaction-onder § 1.6044-4(b)(2). Published guidance. may identify other types:or:classes 7... . -

of persons.that will-be treated as participants i in a listed transaction. Treas. Reg. 8 4.60445:
A{e)(3){iMA). ay

The term substantially ‘similar includes ary transaction that is expected to obtain the.same OF .-

similar types of tax consequences and that Is elther factually similar or based on the same or

FORM 886-A (REV, 01-94) “Page 6 DEPARTMENT OF THE TREASURY-- INTERNAL REVENUE
Case ID: 121000444

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(REV, JANUARY 1994) EXP Rev January 2 oon EXHIBIT
V7. NAME OFTAXPAYER = oo." > ~ TAX IDENTIFICATION NUMBER or YEAR/PERIOD ENDED
i let Gabay Schwartz. Ent.& Assoc: PC 23" 2285128. Mh | December 34,2007 __

: ” ‘similartax strategy:: Receipt'of an opinion regarding: the tax consequences of the transaction: -. -;+
' is not-relevant to-the determination of -whetherthe-transaction-is the same-as.or substantially. hae ah
similar to another transaction. Further, the term substantially similar. must: he broadly : vee
. construed j in favor’ of disclosure. ‘Treas. Reg. S ‘ 604 Talo). co es

The disclosure statement for a reportable transaction, Form 8886 "Reportable Transaction
'-. Disclosure Statement” (or successor form), must be attached to the taxpayer's tax return for |
“each taxable year forwhich a taxpayer‘participates in:a-teportable transaction:. In addition, a of
". .copy of the disclosure'statement must be sent 1@OTSA: vat the same, time that any: algelosure: Pe fic ty

" statement i is fi rst filed with the taxpayer 's. tax return,

: Ifa transaction becomes a listed transaction after the Tiling of the taxpayer's final tax yetu..
- reflecting either tax consequences or a tax strategy described in the published guidance: . .
‘listing the transaction (ora tax bénefit derived-frem tax consequences or a-tax.strategy: .
-- described in the published guidance listing the transaction)-and before the end of the siatufe; .-: 5: -
' of limitations period for that return, then a disclosure statement must be filed-as an... ~ . .
attachment to ihe taxpayer's tax return next filed after the date the transaction is listed.

Treas. Reg. § 1 804 1-4(e)(2)()).
Example From the Regulations - -Treasuy Regulation § 1.604 1-4(eX(4) reads as follows:

(4) Example. The following example ilustrates the application of this paragraph (e):
Example. In January of 2004, F, a domestic calendar year corporation, enters into a
transaction that is-not a listed transaction when.entered Into and is nota transaction ..
described in any of the paragraphs (b)(3) through (7) of this section, All the tax benefits
from the transaction are reported on F's 2004 tax return. On March 1,.2008, the IRS
ptiblishes a notice identifying the transaction as a listed transaction described in
‘paragraph (b}(2) of:this Section. Thus, ‘upon issuance.of the notice, the transaction .. .

' becomes a reportable transaction described in:paragraph (b) ofthis section..The. © 2s.
statute of limitations for F's 2004 taxable year is still open. F is required to file.Form |... -
8886 for the transaction as an atiachment to F's next filed Federal income tax return
and must send a copy of Form 8886.to OTSA,.If F's.2007 Federal income tax return

. has not been fited on or before the date the Service identifies the transaction asa.
‘listed transaction, Form 8886 must be attached. to: F's 2007 return and. at that time. a:

copy of Form 8886 must be sent to OTSA, ey

Notice’ 2007: 83.

. In Notice 2007: 83, the IRS alerted i taxpayers and their representatives to, gome of the ws
significant tax problems that may be raised by certain trust arrangements claiming to- be +,
welfare benefit funds and involving cash value life insurance policies that are being promoted,
to and used’ by taxpayers to improperly claim federal income and employment tax benefits.

FORM 886-A (REV. 01-94} * Page 7 DEPARTMENT OF THE TREASURY— INTRERB AL REVENUE, 1000444

SERVICE
Case 2:12-cv-06161-RBS Document1 Filed 10/31/12 Page 42 of 48

SCHEDULE NO. OR

Form 886-A
_ (REV. JANUARY 1994) EXPLANATION OF ITEMS EXHIBIT
Rev. January 2008
vos) NAME OF TAXPAYER: So. cers vce) TAXIDENTIFICATION NUMBER 6 -YEARIPERIOD ENDED
». Gabay Schwartz.Ent& Assoc PC... 1.XX-XXXXXXX ¢ += *s ‘Pies ot. [December 34, 2007

The.notice.alerts taxpayers and their representatives.that those transactions-are-tax, an ever te

bok avoidance -transastions.and identifies. certain-transactions using-trust,arrangements,invelving: woot as

- cash value life insurahce policies, and substantially si

” inilar transactions,-aslisted transactions
ot Purposesa! § 1.604.1-4(b)(2). of the income Tax Regulations and §§ 6411 and.6112 ofthese 2.
: ode,. o:- oT. hie tes . oo Ce Te kg mote,
Q . Notice’ 2007-88 describes generally arrangements that are sometimes referred-to.byie. re
. -.the persons advogating-their use as “single employer plans" and sometimes as "449(@}e ch ss, os
... plans.” Those advotates: claim that emiployers. contribufions to the trust:are deductible ander. 27 or
sections 419 and 449A as qualified costs2 but that there is not a corresponding inclusion in."

the owner’s income. Suet te

lan and trust documents indicate that the plan... vcr 53
benefit protection and certain welfare, benefits.{o. 0° oc
who are-also owners of the business). The: + -- =,
arrangement provides. that the benefits are payable while the employee is actively employed. :.~-..
__ by the employer. The employer's contributions are. ofien based on premiums charged, for... 0-9
cash value life insurance policies. For example, contributions may be based on premiums: - | -
that would be charged for whole life policies. As a result, the arrangements often require: -
large employer contributions relative to the actual cost of the benefits currently provided .... .

under the plan.

Ly : Under these arrangements, the p
, ., provides benefits such,as current. death.
- covered employees.(including those.employees

ents, the trustee uses the employer's contributions to the trust

to purchase life insurance policies. The trustee typically purchases cash value life insurance... |
policies on the lives of the-employees who are owners of the business (and sometimes other eon er
key employees), while purchasing term life insurance. policies on the lives-of the other: 0...
employees covered under the pian. Itis anticipated that after a number of years the pian wil)... - ...
be terminated and.the cash value life insurance policies; cash, or other property. held by the.:::..- - |

trust will be distributed.to the employees.who are plan participants at the time.ofthe: nr. bens
dta employees who are not owners of

termination, While a small amount may. be distribute
the business, the timing. of the plan termination. and the methods used to allocate the caso
_ remaining assets are.structured so {hat the business owners and other key employees.will- -- . ws
_receive, directly or indirectly, all.or a substantial portion of the assets: heid.by. the trust. =) 2...
_ fhadditio#, Notice 2007-83 identifies certain arrangements ‘as listed transactions..; . 5.
Notice 2007-83 states that any transaction that has all of the following elements, and any |:
transaction that is substantially similar to such a transaction, are identified as “listed: |. 7. °

transactions” for purposes of § 1.6011-4(b)(2) and §§ 6111 and 6112, effective Octobert7, =.
_ 2007: a a Oo, er

Under these arrangem

2 Section 419(c}(1) of the Code generally describes qualified costs as the sum of qualified direct-costs
qualified asset accounts.

plus additions to

FORM 8B6-A (REV. 01-94) Page 8”
SERVIGE

DEPARTMENT OF THE TREASURY INTERNAL REMENYE, 1000444
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, SCHEDULE NO. OR

Form 886-A

(REV. JANUARY 1994) EXPLANATION OF ITEMS EXHIBIT

Rev. January 2008
“NAME OF TAXPAYER © 0. ts | TAX IDENTIFICATION NUMBER, +) |-YEAR/PERIODENDED .
wie.) “Gabay Schwartz Ent &AssocPC _.: | XX-XXXXXXX" _| December 31, 2007
(1) The iransaction involves a trust.or- other fund-deseribed in § 419(e)(3) thats. en. leu
4 purportedly. a welfare-benefit-fund.. Cet’ wa SARE a letee ce teget meee Saget a eh ky

(2. For-determining the portion:of ifs. contributions to the. trust or other fund fhat are: - oe me
currently deductible the employer does not rely on the exception in § ATSAGKEXA) 8.
(regarding collectively.bargained plans). — a, em

8). “The frust or otherdund.pays, premiums (or'aitiounts. that are purparted.to. be préiiums): cote.

_ of one or more life insurance policies. and, with respect to at least one of the policies, . weak

value is accumulated elther:.. ... -
(a) _ within the. policy (for example, acash value life Insurance policy); or

(6) : “outside the policy (for ‘example, In a sidé fund or through an agreement outside .

, the policy allowing the policy to be ‘gonverted to or exchanged for a policy which
"will, at some point in time, have aécuimillated value based on thé purported +.”

"”..prémiums paid on the original policy). 7

(4) The employer has taken a deduction for any taxable year for its contributions to the
fund with respect to benefits provided under the pian (other than post-retirement
madical bénefits, post-retirement life insurance benefits, and child care facilities) that

is greater than the sum of the following amounts:
" (a) With respect to any uninsured benefits provided under the plan,

() ‘ ‘an amount equal'to claims that'were both incurred and paid during the.
_°* faxable year;plus | ~ — Pe Monge,
- (i). the limited resétves allowable under: §-419A(c)(1) or (c}{3), as. applicable; -,
“plus DE co coe
(ili) amounts paid during the taxable year to satisty claims incurred ina prior
.’* -taxable year (but only to fhe extent that no deduction. was taken for such .
.- amounts in a prior year); plus «| FO,

administrative expenses with respect to uninsured benefits and that are,
:” «properly allocable tothe ‘taxable ‘year (but only to the extent thatno
- deduction was taken for such amounts in @ prior year). :

(iv) amounts paid:duririg the taxable:year or a prior taxable year for

(b} With respect to any insured benefits provided under the plan, .

FORM 886-A (REV. 01-84), Page 9 . DEPARTMENT OF THE TREASURY~ INTERNAL REVENU
SERVICE ase ip: I 5 1000444
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SCHEDULE NO. OR |

Form B86-A °
__ (REV. JANUARY 1994) OKT danaery 2008 EXHIBIT
NAME OF TAXPAYER, 0.6 | TAXIDENTIFICATION NUMBER -Y¥EARIPERIOD-ENDED
Gabay Schwartz Ent & Assoc PC_- “| XX-XXXXXXX" te ty December 34, 2007,

yee) - insurance.premiums paid during-the taxable year that are properly evden

:.. allocable-to-the.taxable year{other.than premiums. paid.with respect: to a:
Policy described j in (a) or (b) above), plus weer

ii) “insurance premiums paid in prior taxable years that are properly allocable

et

“Gi) = ‘aniounts ‘paid during: the taxable year ora ‘prior taxable yeni for

to the taxable year (other than premiums paid with respect toa policy ” bil
: ‘described | in (3a) or (0) above), plus, we att i

administrative expenses with respect to insured benefits and that are:
properly allocable to the taxable year (but only fo the extent that no - 0 6%. ae
deduction was taken for such amounts in’a prior year).

For taxable years éhding | prior'te Noveniber 5, "2007, with respect tolife -

ee “insurance-t ‘benefits provided through’ policies described | in'(3)(a) and. (b) a above, . toate
ithe greater of thé following amounts:3 ~ a Nene

(d ”

{i} in the case of an employer with a taxable year that is the calendat year, (:-
. the aggregate amounts reported by the employer as the cost of
‘Insurance With respect to such policies on the employees’ Forms W-2 {or.-.
. Forms 1099) for that year, plus an amount equal fo the amounts that. °°
would have been reportable on the employees’ Forms W:2 for that year,
. but for the exclusion under section 79 (relating to the cost of up to
$50,000 of coverage); or, in the case of an employer with a taxable year
_ .othér than the calendar year, the portions of the aggregate amounts . 0. tec
reported by the employer on the Forms W-2 (or Forms 1099) as
‘described in (i), above; (or that would have been reported absent the.
. exclusion under, § 79) that are. properly ; allocable to the employer's a

- Aaxable’ year; and

(i). with respect to each employee insured under 4 cash value life insurance

- policy, ihe Hggregate cost of Insurance charged under the policy or
’ policies with respect to the amount of current life insurance coverage -
provided to the employee under the plan (but limited to the product of the,
_ . current life insurance coverage under the plan multiplied by the current ..
year's mortality. rate Provided in the & higher of the 1980 or 2001 cso ;

Table), -.

‘The additional’ reserve, if any, under § A1BA(0)(6) {relating to niedical benefits os

_provided through a plan maintained by a bona fide association), but only to the -
extent amounts are not already included above i in this paragraph (4), and only .

3 For taxable years ending on or after November §, 2007, the amount under this (4)(c) is zero.

FORM 886-A (REV. (1-84) Page 10

DEPARTMENT OF THE TREASURY IN} INT, aut ID: 121000444

REVENUE SERVICE
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SCHEDULE NO. OR

‘ Fora BE6-A
4 EXPLANATION OF ITEMS EXHIBIT
{REV, JANUARY 1994) Rav. January 2008

NAME OF TAXPAYER: «++ TAX IDENTIFICATION NUMBER ..°, LYEARIPERIOD-ENDED
0, [December 31,.2007-

'- Gabay Schwartz Ent-& Assoc. PC. 23-29065124 - Pe a

oo 88,

“to the extent that no. deduction was taken for such amounts | ina prlor.ti taxable.,

F "t

- GOVERNMENT'S POSITION - vo

Notice 2007: 83 identifi ies as 2. listed fraheaction ‘any: transaction that has ail four of. the.
“2: ‘elemenis lisied in the Notice and any transaction that is substantially.similar. to sucha.
transaction. As deseribed below, ihe Plan has all of fthe elements described | in Notice 2007- | .

fe

The: Plan iivolves: a frust that purports to. be a- welfare benefi i fund. Accordingly t the Plan has: nos
element (1) of Notice 2007-83. : be
: The employers’ ‘participating i in. the Plan do not rely:on the exception In section. 44. SAMO for.

ae collectively bargained: plans. ‘Accordingly, the Plan has element (2) of Notice: 2007-83. .

The {rust associated with the Plan pays premiums on one or moie cash value fife insurance
policies with tespect'to the participating employers. Accordingly, the Plan-has element (3) of

Notice 2007-83.

‘ The Taxpayer has taken a-deduction for its contributions to the Plan, in.any taxable year of
the Taxpayer, for which the Taxpayer has elected to provide for such taxable year only pre-.
retirement benefits. Thus, the Plan has element (4) of Notice 2007-83 for the following
reasons, Because the only benefit provided under the Beta Pian is.life insurance coverage
. + (and that coverage is not.a post-retirement life insurance benefit), and. because. the. employer .
- has deducted amounts that are greater than the aggregate amount described in paragraph ..
-. (4){b)(iti) and (4)(c) of-Notice: 2007-83, the employer has taken a deduction for a taxable year. .
_ for its contribution to the Beta Plan that | is greater than the sum set forth in element (4) of os
Notice 2007- 83. “Accordingly, the Beta Plan has element (4) of Notice 2007- 83,000

‘Thus, the Beta Plan arrangement has ail four of the elements listed in Notice 2007-83,
' Accordingly, the Beta Plan arrangement i is the same as, or substantially similar fc to, the -

transaction described in Notice 2007-83:

a The Taxpayer enfered the BETA Individual Employer Welfare Benefi { Plan on.or- after.

_ February 28,2003, Thus, the Taxpayer participaied in-a listed transaction during the tax ~
: year(s) ended December 31; ‘9005, December 31, 2006 and December 31, 2007. ‘Thus, the oe
Taxpayer had a requirement to attach a Form 8886, Reportable Transastion Discfosure a,
Statement to the Taxpayer's return for the tax year énded: December 341, 2007 and. file a COPY .
of the Form 8886 with the of ice of Tax Shelter Analysis (OTSA). . a

FORM 886-A {REV, 01-94} Page 77 DEPARTMENT OF THE TREASURY INTERNAL
Case ID: 121000444

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EXHIBIT “B”
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RAPHEAL GABAY, D.O : CIVIL ACTION
and
NO.:

GABAY, SCHWARTZ, ENT AND
ASSOCIATES, P.C.
Plaintiffs

¥v.
GLENN JOSEPHS, CPA
and

FREIDMAN LLP

Defendants

NOTICE OF CONSENT TO REMOVAL

TO THE CLERK:

Please take notice that Defendant Freidman LLP consents to the removal of this action to
this court.

Respectfully submitted,
WILSON, ELSER, MOSKOWITZ,
EDELMAN & DICKER LLP

BY:  /s/ Wendy D. Testa
Wendy D. Testa
Atty. LD. No.: 81705
Attorney for Defendant,
Freidman LLP
601 Walnut Street, Suite 1130 East
Philadelphia, PA 19106
Phone: (215} 627-6900
Facsimile: (215) 627-2665
Wendy. Testa@wilsonelser.com
Dated: October 31, 2012

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CERTIFICATE OF SERVICE

I, Wendy D. Testa, Esquire, attorney for Defendant, Freidman LLP, certify that 1 have
served a true and correct copy of the foregoing Notice of Consent to Removal by filing the same

on the court’s ECF system on the date referenced below.

/s/Wendy D. Testa

Wendy D. Testa, Esquire

Dated: October 31, 2012

763674 |
